EXHIBIT 1
                          DEPUTY SECRETARY OF DEFENSE
                                1010 DEFENSE PENTAGON
                               WASHINGTON , DC 20301 - 1010


                                                                                    JUN 1 0 2021

MEMORANDUM FOR DIRECTOR, OFFICE OF MANAGEMENT AND BUDGET

SUBJECT: Department of Defense Plan for the Redirection of Border Wall Funds

        On January 20, 2021 , President Biden issued Proclamation 10142, "Termination of
Emergency with Respect to the Southern Border of the United States and Redirection of Funds
Diverted to Border Wall Construction" (the Proclamation). Section 2 of the Proclamation
directed the Department of Defense (DoD) and the Department of Homeland Security to develop
a plan for redirecting funds and repurposing contracts as appropriate and consistent with
applicable law.

         The DoD plan is composed of two parts: (1) cancellation of projects and (2) redirection
of funds. Part 1 of the plan is documented by the attached April 30, 2021 , memorandum,
"Department of Defense Actions Implementing Presidential Proclamation 10142," in which the
Deputy Secretary of Defense directed the cancellation of all projects authorized pursuant to title
10, U.S. Code, sections 284 and 2808 (TAB A). Part 2 of the plan is documented by the attached
funding plan, which describes how the Department will use the $2.2 billion of available
unobligated military construction appropriations to restore funding for 66 projects in 11 States,
3 territories, and 16 countries in FY 2021 (TABB). These two documents taken together
constitute the full and complete DoD plan directed in section 2 of the Proclamation.

       As required by section 2 of Proclamation 10142, this plan was fully coordinated with the
Attorney General, the Director of the Office of Management and Budget, and the heads of other
appropriate executive departments and agencies, and in consultation with the Assistant to the
President for National Security Affairs.

       This Plan is not intended to, and does not, create any right or benefit, substantive or
procedural, enforceable by law or in equity by any party against the United States, its
departments, agencies, or entities, its officers, or agents, or any person.




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                          DEPUTY SECRETARY OF DEFENSE
                                1010 DEFENSE PENTAGON
                               WASHINGTON, DC 20301-1010
                                                                                    APR 3 0 2021

MEMORANDUM FOR SECRETARY OF THE ARMY
               UNDER SECRETARY OF DEFENSE (COMPTROLLER)/CHlEF
                 FINANCIAL OFFICER

SUBJECT: Department of Defense Actions Implementing Presidential Proclamation 10142

        In Proclamation 10142. the President "declare[d] that the national emergency declared by
Proclamation 9844 ... is terminated and that the authorities invoked in that proclamation will no
longer be used to construct a wall at the southern border." The Proclamation also directed the
Secretary of Defense and the Secretary of Homeland Security to develop a plan for redirecting
funding and repurposing contracts for all border barrier projects. This memorandum directs
actions for the Department of Defense in furtherance of Proclamation 10142 regarding those
projects authorized pursuant to title 10. U.S. Code. sections 284 and 2808.

Section 2808 of Title 10, U.S. Code, Border Barrier Construction

        As specified in section 2808(c) the termination of the national emergency with respect to
the southern border in Proclamation 10142 made the authority provided in section 2808 no
longer available. I have also determined, based on the termination of the national emergency,
that projects authorized pursuant to section 2808 are no longer necessary to support the use of the
armed forces.

         The Secretary of the Army will take immediate action to: (1) cancel all section 2808
border barrier construction projects, including providing any requisite congressional notification;
(2) relinquish any lands withdrawn by the Department of the Interior for such construction; and
(3) transfer administrative jurisdiction of any lands purchased for such construction or
transferred from other Federal departments or agencies pursuant to the Federal Property Act, to
the Department of Homeland Security. The Department of the Army may expend military
construction funds made available for section 2808 border barrier construction only to pay
contract termination costs, including suspension costs. Such costs may include expenses of
activities necessary for contractor demobilization, but may not include costs associated with any
further construction or construction-related activities of any kind.

        As funds become available, the Under Secretary of Defense (Comptroller)/Chief
Financial Officer will take immediate action to release the unobligated military construction
funds to the relevant Military Departments and Defense Agencies and ensure they are used in an
appropriately prioritized manner to carry out military construction projects that were deferred to
finance section 2808 border barrier construction.

Section 284 of Title 10, U.S. Code, Border Barrier Construction

        Cancelling section 284 border barrier projects is consistent with the President's
determination that "building a massive wall that spans the entire southern border is not a serious
policy solution" to the security challenges at the southern border. Although not legally required



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by the termination of the national emergency at the southern border, cancelling section 284
projects is consistent with the policy intent, described in Proclamation 10142. to end construction
of a border wall. The Secretary of the Anny therefore will talcc immediate action to cancel all
section 284 construction projects. The Department of the Army may use funds tramferred for
section 284 border barrier construction projects to pay contract termination costs, including
suspension costs. Such contract termination and suspension ~sts may include costs associated
with activities necessary for contractor demobilization. The Department of the Army also may
use such funds for activities necessary to make permanent any measures that were taken to avert
immediate physical dangers during the pause directed by section l(b) of Proclamation 10142.

         I have infonned the Secretary of Homeland Security that DoD will no longer undertake
the construction of fences and roads and installation of lighting at the southern border pursuant to
title 10, U.S. Code, section 284, and that consistent with previous approvals of section 284
construction, OHS will accept custody of border barrier infrastructure constructed pursuant to
section 284, account for such infrastructure in its real property records, and operate arul maintain
the infrastructure (including undertaking any necessary further construction, consistent with

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cc:
Chairman of the Joint Chiefs of Staff
Under Secretary of Defense for Acquisition and Sustainment
Under Secretary of Defense for Policy
General Counsel of the Department of Defense
Commander, U.S. Army Corps of Engineers




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                                             TAB A· Projects to be Funded from Released Funds (FY 2021)
                                                                 Dollars in Thousands

Location                      State/Country Title           Component                          Line Item Title                                             FY 2021 Rester.II
States                        Alaska                        MDA                                Missile Field #1 Expansion                                            $10,000
                              Florida                       Air Force                          Fire/Crash Rescue Station                                             $25,800
                              Indiana                       Air Guard                          Construct Small A rms Range                                            $9,417
                              Maryland                      Army                               Cant onment Area Roads                                                $26,000
                              North carollna                USMC                               2nd Radio BN Complex, Phase 2 (INC)                                   $25 ,650
                              Sout h carolin a              USMC                               laurel Bay Fire Station Replacement                                   $10, 750
                              Texas                         Air Force                          Camp Bullis Din ing Facility                                          $22,000
                              Utah                          Air Force                          Composit e Aircraft Antenna Calibration Fae                           $24,000
                              Virginia                      Navy                               Sh ips Maintenance Facility                                           $26,120
                                                                                                                                11
                              Washington                    Navy                               Pier and Maint eance Facility                                         $88,960
                              Wisconsin                     Air Guard                          Construct Small Arms Range                                            $10,493
                              Unspecified                   Army                               Defense Access Roads 21                                               $20,000
States Total                                                                                                                                                        $299,190
Territory                     Guam                          Air Force                          APR - Munitions Stor age Igloos, Ph 2                                 $28,600
                                                                                               APR - SATCOM C41 Facility                                             $13,800
                                                                                               PRTC Roads                                                             $2,500
                                                            Navy                               Navy-Com mercial Tie-ln Hardening                                     $37,180
                                                            USMC                               Earth Cove r ed Magazines                                             $52,270
                                                                                               Machine Gun Range (INC)                                               $50,000
                                                                                               Water Well Field                                                      $56,088
                              Puerto Rico                   Army Gua r d                       Aircraft Maintenance Hangar (AASF)                                    $64,000
                                                                                               Company Headquarters Bldg -Transient Tra ining                        $47,000
                                                                                               Dining Facility, Transient Training                                   $13,000
                                                                                               Maneuver Ar ea Tra ining Equ ipm ent Site                             $78,337
                                                                                               National Guard Readiness Center                                       $50,000
                                                                                               Power Substation/Switching Station Build ing                          $35,000
                                                                                               Read iness Center                                                     $28,602
                                                                                               Veh icle Maintenance Shop                                             $26,707
                              Virgi n Islands               Army Guard                         National Guard Vehicle Maint enance Shop Add/A                         $3,962
                                                                                               Veh icle Maint enance Shop                                            $21,436
Territory Total                                                                                                                                                     $608,482
Overseas                      Bahrain Island                Navy                               Electrical Syste m Upgrade                                            $53,360
                                                                                               Fleet Ma intenance Facility & TOC                                     $26,340
                              Bulgari a                     Arm y                              EDI : Ammunit ion Holding Area                                         $5,200
                              Germany                       Army                               Hazardous Mate ria l Storage Buildi ng                                 $2,900
                                                                                               Mission Tra ining Complex                                             $30,800
                                                            Air Force                          37 AS Squadron Operations/ AMU                                        $15 ,400
                                                                                               Upgrade Hardened Aircraft Shelters for F/ A-22                         $1,800
                                                            DLA                                EDI : logistics Distribution Cente r Annex                            $46,000
                                                            DoDEA                              Robinson Barracks Elem. School Replacement                            $46,609
                                                                                               Spangdahlem Element ary School Replacement                            $79,141
                              Greece                        Navy                               EDI: Mar athi Logistics Support Center                                 $6,200
                              Guantanamo Bay, Cuba          Army                               OCO : Communicat ions Facility                                        $22,000
                                                                                               OCO : Detention Legal Office and Comms Ctr                            $11,800
                                                            DHA                                Working Dog Treatment Faci lity Replace ment                           $9,761
                              Hungary                      Air Force                           ERi: Increase POL St orage Capacity                                   $13,717
                              Italy                        Navy                                EDI : P-8A Taxiway and Apron Upgrades                                 $66,050
                              Japan                        DoDEA                               Bechtel Elementary School                                             $94,851
                                                                                               Kinnick High School Inc 1                                             $40,000
                                                                                               Pacific East District Superintendent's Office                         $20,106
                              Jordan                        Air Force                          Air Traffic Control Tower                                             $18,901
                                                                                               Munit ions Storage Ar ea                                              $34,262
                              Korea                        Arm y                               Command and Control Faci lity                                         $21,000
                                                                                               Unmanned Aerial Veh icle Hangar                                       $48,699
                              Kwajalein                    Army                                Ai r Traffic Control Terminal                                         $7D,000
                              Luxembourg                   Air Force                           ERi : ECAOS Deploya ble Ai rbase System Storage                       $97,071
                              Romania                      Army                                EDI: Explosives & Ammo Load/ Unload Apron                             $22,500
                              Slovakia                     Air Force                           EDI - Regiona l Munitio ns Storage Area                               $59,916
                                                                                               ERi : Airfield Upgrades                                               $1 7, 346
                                                                                               ERi: Airfiel d Upgrades                                                $3,061
                                                                                               ERi: Increase POL Stor age Capacity                                   $19,085
                              Spain                        Navy                                ED I: In-Transit M u nitions Facil ity                                 $9,960
                                                                                               ED I: Joint Mobility Center                                           $46,840
                                                                                               ED I: Port Operations Facilities                                      $21,590
                                                                                               EDI : Small Craft Berthing Faci lity                                  $12,770
                              United Kingdom               Air Force                           EDI - Munitions Holding Ar ea                                         $26,977
                                                                                               Main Gate Com plex                                                    $16,500
                              Worldwide Unspecified        Ai r Fo rce                         TACMOR - Utilities and Infrastr uctu re Support                      $120,917
Overseas Total                                                                                                                                                    $1,259,430
Other 2808 Unobligated
            31                                             Army                                                                                                      $12,088
Ba lances
                                                           Navy                                                                                                      $13,018
                                                           Air Force                                                                                                  $1,208
                                                           Army Gua rd                                                                                                  $831
                                                           Air Gua r d                                                                                                $4,090
                                                           05D                                                                                                        $1,446
Other 2808 Unobligated Balances Tot al                                                                                                                               $32,681
Grand Total                                                                                                                                                       $2,199,783

11 Although this project r emains identified as a funding source for Section 2808 construction, funding for this pr oject was previous ly released t o the Navy pursuant

to a court order that is on appeal.
21 To date, Congr ess has not authorized a location for this Defense Access Roads project.
31 After res t or al of f unding for projects at updated cost est imates in accordance with established procedu r es, any rema ining 2808 unobligated ba lances will be

returne d to t he relevant M ILCON accou nts .




                                                                                                              Defendants' Exhibit 1 - Page 4
